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1    CROSNER LEGAL, P.C.
     Jennifer L. MacPherson (SBN 202021)
2
     jmacpherson@crosnerlegal.com
3    Craig W. Straub (SBN 249032)
     craig@crosnerlegal.com
4
     Zachary M. Crosner (SBN 272295)
5    zach@crosnerlegal.com
     9440 Santa Monica Blvd. Suite 301
6
     Beverly Hills, CA 90210
7    Tel: (866) 276-7637
     Fax: (310) 510-6429
8
9    Attorneys for Plaintiff and the Proposed Class
10
11                     UNITED STATES DISTRICT COURT

12                    EASTERN DISTRICT OF CALIFORNIA

13   KEYONNA DANIELS, individually,          Case No.
     and on behalf of all others similarly
14   situated,                               CLASS ACTION COMPLAINT
15
                 Plaintiff,
16                                           JURY TRIAL DEMANDED
17         v.

18   EAGLE FAMILY FOODS GROUP
19   LLC D/B/A EAGLE FOODS, a
     Delaware limited liability company,
20
21               Defendant.

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                      1          Plaintiff Keyonna Daniels (“Plaintiff”) individually, and on behalf of all
                      2    others similarly situated, and the general public, by and through undersigned
                      3    counsel, hereby brings this action against Defendant Eagle Family Foods Group
                      4    LLC d/b/a Eagle Foods (“Defendant”), and upon information and belief and
                      5    investigation of counsel, alleges as follows:
                      6                                    NATURE OF THE ACTION
                      7          1.     Eagle Family Foods manufactures, labels, markets, and sells the dry
                      8    dinner mixes, Hamburger Helper and Tuna Helper, in stores throughout the United
                      9    States, including California.
                      10         2.     Hamburger Helper is a packaged food product. As boxed, it consists
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                      11   of dried pasta, with powdered seasonings in a packet. Consumers are meant to
                      12   combine the contents of the box with browned ground beef, water, and, with some
                      13   varieties, milk, to create a complete one-dish meal.
                      14         3.     Defendant also makes Tuna Helper boxed dinners to which tuna is to
                      15   be added respectively.
                      16         4.     The meat (beef, tuna) is not included in the Hamburger Helper
                      17   dinners, but rather must be purchased separately. The Hamburger Helper and Tuna
                      18   Helper packaged dinners are referred to collectively as “Hamburger Helper.”
                      19         5.     Hamburger Helper offers a variety of flavors, including Cheeseburger
                      20   Macaroni, Double Cheeseburger Macaroni, Bacon Cheeseburger, Cheesy Beef
                      21   Pasta, Cheesy Ranch Burger, Chedder Cheese Melt, Three Cheese, Cheesy Italian
                      22   Shells, Tuna Cheesy Pasta, and Four Cheese Lasagna (the “Products”).
                      23         6.     The Product names combined with representations made on the front
                      24   box of each Product is meant to and does give the impression that the Products are
                      25   made with more than a de minimis amount of real cheese. In other words, they give
                      26   consumers the impression the Products contain a greater relative and absolute
                      27   amount of cheese than they actually do.
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                      1             7.    Cheese is a characterizing ingredient in each of the Products, where
                      2    the name of each Product contains a variation of the word cheese. The front
                      3    package of the Products claim they are “Made with Real Cheese,” and all but one
                      4    of the Products claim to contain a “Creamy & Cheesy Sauce.” These claims are
                      5    reinforced by the picture on the front of the box that shows a large bowl of cheesy
                      6    pasta.
                      7             8.    The problem is the Products contain a de minimis amount of cheese,
                      8    less than 2%. As such, representations on the front of the box that the Products are
                      9    “Made with Real Cheese” is false and misleading to reasonable consumers.
                      10                                JURISDICTION AND VENUE
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                      11            9.    This Court has original jurisdiction over this action pursuant to 28
                      12   U.S.C. § 1332(d) because this is a class action in which: (1) there are over 100
                      13   members in the proposed class; (2) members of the proposed class have a different
                      14   citizenship from Defendant; and (3) the claims of the proposed class members
                      15   exceed $5,000,000 in the aggregate, exclusive of interest and costs.
                      16            10.   This Court has personal jurisdiction over Defendant because
                      17   Defendant conducts and transacts business in the State of California, contracts to
                      18   supply goods within the State of California, and supplies goods within the State of
                      19   California. Defendant, on its own and through its agents, is responsible for the
                      20   formulation, ingredients, manufacturing, labeling, marketing, and sale of the
                      21   Products in California, specifically in this District. The marketing of the Products,
                      22   including the decision of what to include and not include on the labels, emanates
                      23   from Defendant. Thus, Defendant has intentionally availed itself of the markets
                      24   within California through its advertising, marketing, and sale of the Products to
                      25   consumers in California, including Plaintiff. The Court also has specific
                      26   jurisdiction over Defendant as it has purposefully directed activities towards the
                      27   forum state, Plaintiff’s claims arise out of those activities, and it is reasonable for
                      28   Defendant to defend this lawsuit because it has sold the Products to Plaintiff and
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                      1    members of the Class in California. By distributing and selling the Products in
                      2    California, Defendant has intentionally expressly aimed conduct at California that
                      3    caused harm to Plaintiff and the Class, which Defendant knows is likely to be
                      4    suffered by Californians.
                      5          11.      Venue is proper in this District pursuant to 28 U.S.C. §1391(b)
                      6    because Defendant engages in continuous and systematic business activities within
                      7    the State of California. Venue is further proper pursuant to 28 U.S.C. §1391(b)
                      8    because a substantial part of the events or omissions giving rise to the claim
                      9    occurred in this District because Plaintiff purchased one or more of the Products
                      10   within this District.
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                      11                                          PARTIES
                      12         12.      Eagle Family Foods Group LLC, doing business as Eagle Foods, is
                      13   an American food company with its corporate headquarters at 1975 E. 61st Street,
                      14   Cleveland, Ohio 44103. Defendant is organized in Delaware as a limited liability
                      15   corporation.
                      16         13.      Eagle Family Foods sells condensed and evaporated milk, popcorn,
                      17   french fries, sweet onion sticks, and pasta dishes, including the Hamburger Helper
                      18   Products. 1
                      19         14.      Defendant distributes and sells the Products in stores throughout the
                      20   United States, including California.
                      21         15.      Plaintiff, Keyonna Daniels, is a resident of Sacramento, California.
                      22   Plaintiff purchased Hamburger Helper products, including the Cheeseburger
                      23   Macaroni product, numerous times during the class period, primarily from a local
                      24   WinCo Foods in Sacramento, California.
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                             General Mills Completes Sale Of Helper And Suddenly Salad Businesses, BUSINESS WIRE
                      28   (July 5, 2022), available at https://www.businesswire.com/news/home/20220705005113/en/.

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                      1           16.    Plaintiff read and relied on the representations made on the front
                      2    package of the Products, including the Cheeseburger Macaroni, that represented
                      3    the Products were “Made with Real Cheese,” and thus contained more than a de
                      4    minimis amount of real cheese. This message was reinforced by the picture of a
                      5    large bowl of cheesy pasta appearing on the front of each Product box and the fact
                      6    that cheese was a characterizing ingredient of each Product, where the names of
                      7    each Product contained a variation of the word “cheese” (e.g., Cheeseburger,
                      8    cheesy, cheese). Based on these representations Plaintiff expected the Products to
                      9    contain more than a de minimis amount of real cheese, not two percent or less.
                      10          17.    Plaintiff paid more for the Products than she would have had she
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                      11   known the representations and omissions were false and misleading or would not
                      12   have purchased them. The value of the Products that Plaintiff purchased was
                      13   materially less than their value as represented by Defendant.
                      14          18.    As a result, Plaintiff suffered injury in fact when she spent money to
                      15   purchase the Products she would not have purchased or would have paid less for
                      16   absent Defendant’s misconduct.
                      17                      HAMBURGER HELPER IS A HOUSEHOLD NAME
                      18          19.    Hamburger Helper has been a household name since the early 1970s
                      19   and was an “instant success” offering a one-pan solution to mealtime. 2
                      20          20.    Hamburger Helper is a dry dinner mix to which users can add meat
                      21   and other ingredients, and which can be made in thirty minutes or less.
                      22          21.    Today there are at least three brands of Hamburger Helper, each of
                      23   which is designed for the addition of a specific meat, mainly beef, tuna or chicken.
                      24   These include Hamburger Helper to which consumers are expected to add beef;
                      25   Tuna Helper to which tuna is to be added; and Chicken Helper designed for
                      26   chicken dinners. For all the above, the meat is to be purchased and added
                      27
                           2
                      28       General Mills, How Helper got its Start (Feb. 9,                  2017),   available   at
                           https://www.generalmills.com/news/stories/how-helper-got-its-start.
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                      1    separately by consumers.
                      2          22.    Under each of these three brands are a variety of products made with
                      3    different spices and other ingredients to give consumers a variety of quick meal
                      4    options.
                      5          23.    As of 2017, Hamburger Helper came in 41 varieties, and it was
                      6    estimated that more than 1 million households ate Hamburger Helper for dinner
                      7    each weeknight.3
                      8          24.    In 2022, Eagle Family Foods acquired the Hamburger Helper brand
                      9    from General Mills. That year, Hamburger Helper generated $248.6 million in
                      10   U.S. sales, and in 2023 sales hit $272.2 million, reaching a 20% market share. 4
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                      11         25.    Since purchasing Hamburger Helper, Eagle Foods has aimed to
                      12   reformulate and revitalize the brand. According to Mala Wiedemann, Eagle Foods’
                      13   executive vice president of marketing and research and development, Eagle Foods
                      14   believes in “quality products” and is “willing to put money back in the box and not
                      15   charge for it.” For instance, Hamburger Helper’s lasagna recipe includes more
                      16   cheese, herbs and tomatoes to “bring home the more traditional lasagna flavor,”
                      17   according to a product development manager at Eagle Foods. 5
                      18          CONSUMERS DEMAND CLEAN INGREDIENTS AND ARE WILLING TO
                      19                                  PAY MORE FOR THEM
                      20         26.    KeHE Distributors®, a distributor of natural & organic, specialty, and
                      21   fresh products in North America, identified the top seven trends in the food and
                      22   beverage industry for 2024. KeHE describes one of these as “The Real Deal,”
                      23   explaining “[r]ather than limiting indulgences or foods that can be perceived as
                      24   less healthy, the consumer mindset is shifting to a search for quality ingredients
                      25
                      26   3
                             Ibid.
                           4
                      27     Ahmad, Shanzeh, Hamburger Helper aims to stay relevant, THE COLUMBIAN (April 12,
                           2024, available at https://www.columbian.com/news/2024/apr/12/hamburger-helper-aims-to-
                      28   stay-relevant/.
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                             Ibid.
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                      1    that include real dairy, real sweeteners, and quality meats and cheeses.” 6
                      2           27.     Kerry Group P.L.C., a food company that has conducted many studies
                      3    on the food market, including consumer trends and perceptions, found that
                      4    “[c]onsumers are shifting their focus to ‘real’ ingredients that connotate fresh,
                      5    wholesome, and unprocessed in food and beverages.” 7 Kerry’s research found that
                      6    clean labels, including the claim “made with real ingredients’ boosted a product’s
                      7    clean position for consumers.” 8
                      8           28.     A market researcher at Mintel, a global market research firm, explains
                      9    the meaning of clean labels and clean ingredients: “The concept of clean label is
                      10   associated with foods that do not contain ingredients perceived as artificial or are
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                      11   not easily understood by average consumers.” 9
                      12          29.     Consumers are increasingly drawn to products advertised as made
                      13   with one or more clean ingredients, which they perceive as containing real
                      14   ingredients.
                      15          30.     A 2021 study found that in the United States, 63% of adults say the
                      16   ingredients in a food or beverage have at least a moderate influence on what they
                      17   buy and 64% say they try to choose foods made with clean ingredients. 10
                      18          31.     Another survey found that 20% of U.S. consumers say they regularly
                      19   buy foods and beverages, because they are advertised on the label as having clean
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                           6
                      21     KeHE Distributors’ 2024 Macro Trends Show Consumers Want Healthier, More Convenient
                           Options, KeHE (Nov. 16, 2023), available at https://www.kehe.com/news-blog/news/kehe-
                      22   distributors-2024-macro-trends/.
                           7
                             Shoup, Mary Ellen, Kerry Report, How are consumers’ perceptions of clean labels evolving,
                      23   FOOD NAVIGATOR USA (Oct. 24, 2019), available at https://www.foodnavigator-
                           usa.com/Article/2019/10/24/Kerry-report-How-are-consumers-perceptions-of-clean-label-
                      24   evolving.
                           8
                              Consumer awareness of clean label drives demand for ingredient solutions, BEVERAGE
                      25   INDUSTRY (June 28, 2022), available at https://www.bevindustry.com/articles/95110-
                           consumer-awareness.
                           9
                      26      Berry, Donna, ‘Clean label’ now includes processing, packaging, marketing methods,
                           SUPERMARKET              PERIMETER         (Sept.     26,       2024),     available      at
                      27   https://www.supermarketperimeter.com/articles/11788-clean-label-now-includes-processing-
                           packaging-marketing-methods.
                           10
                      28      Sawnani, Bharat, Clean Label: Transparency You Can Taste, FOOD INFOTECH (April 27,
                           2023), available at https://www.foodinfotech.com/clean-label-transparency-you-can-taste/.
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                      1    ingredients. 11
                      2           32.    A 2018 survey conducted by LEK, a global strategy consulting firm,
                      3    found that three out of four consumers say they are committed to at least one
                      4    health, wellness, ethical or environmental attribute among the foods they eat. 12
                      5           33.    A TrendTracker report from Cargill, an American multinational food
                      6    corporation, finds consumers increasingly mindful of the food they consume with
                      7    almost half saying they are interested in clean eating. This is reflected in the growth
                      8    of the global clean eating market with a Compound Annual Growth Rate of 8.65%,
                      9    which is expected to reach $32 billion by 2026, according to the Global Clean
                      10   Label Ingredients Market (2020-2026). 13
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                      11          34.    Given the above, it is increasingly recognized that product
                      12   transparency presents an opportunity for manufacturers and brands to emerge as
                      13   trusted sources for consumers, which in turn aids the providers in strengthening
                      14   their image and position in the market. 14
                      15          35.    Further, it is well documented that manufacturers charge and
                      16   consumers are willing to pay a premium for products with clean ingredients. 15
                      17
                           11
                      18      Ibid.
                           12
                               Steingoltz, Maria, Consumer Health Claims 3.0: The Next Generation of Mindful Food
                      19   Consumption,         LEK        INSIGHTS         (Oct.      15,2018),     available      at
                           https://www.lek.com/insights/ei/next-generation-mindful-food-consumption.
                           13
                      20        Fox, Jennifer B., Baking industry experts discuss clean label, SUPERMARKET
                           PERIMETER                (July          25,            2024),         available          at
                      21   https://www.supermarketperimeter.com/articles/11516-baking-industry-experts-discuss-clean-
                           label.
                           14
                      22      Global Clean Label Ingredients Market Analysis and Forecast, 2020-2022 & 2026: Focus on
                           Ingredients, Applications, and Country-Wise Analysis - ResearchAndMarkets.com,
                      23   BUSINESSWIRE                 (April         6,          2022),         available         at
                           https://www.businesswire.com/news/home/20220406005615/en/Global-Clean-Label .
                           15
                      24      The Truth About Clean Label — and Why It Matters, PERDUE FOOD SERVICE (Oct. 18,
                           2021), available at https://www.perduefoodservice.com/resources/trends-insights/the-truth-
                      25   about-clean-label-and-why-it-matters/; Jacobsen, Jessica, Consumer awareness of clean label
                           drives demand for ingredient solutions, BEVERAGE INDUSTRY, available at
                      26   https://www.bevindustry.com/articles/95110-consumer-awareness-of-clean-label-drives-
                           demand-for-ingredient-solutions; Mastroberte, Tammy, Consumers Willing to Pay More for
                      27   'Clean' Foods & Beverages, CONVENIENCE STORE NEWS (Jan. 15, 2019), available at
                           https://csnews.com/consumers-willing-pay-more-clean-foods-beverages; Bizzozero, Judie,
                      28   75% of Consumers Will Pay Extra For Clean Label Ingredients, SUPPLY SIDE FOOD AND
                           BEVERAGE             JOURNAL          (March        15,       2027),      available      at
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                      1           36.    Enter cheese, studies show that cheese flavors evoke strong emotional
                      2    responses from consumers with “[t]heir most prominent perceptions rang[ing]
                      3    from cheese flavours being satisfying and healthy to fresh and indulgent.” 16
                      4           37.    Innova, a global leader in market intelligence for the food, beverage,
                      5    beauty, and personal care sectors, found that 60% of consumers like rewarding
                      6    themselves with everyday moments of happiness they can experience and that
                      7    cheese ingredients bring a touch of indulgence, premium quality, and a delightful,
                      8    feel-good factor to any food. 17
                      9           38.     Innova’s research also shows that consumers are concerned with
                      10   getting their daily nutrition while staying on budget and cheese ingredients add
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                      11   affordable nutrition in the form of protein to easy homemade-style meals. 18
                      12          39.    Real cheese in a diet, for example, provides calcium, a beneficial
                      13   nutrient that is one of the building blocks of strong bones. In the United States,
                      14   approximately 72% of calcium intakes come from dairy products and foods with
                      15   added dairy ingredients. 19
                      16          40.    A typical serving (30 grams) of hard cheeses including cheddar and
                      17   parmesan cheese supplies approximately 240 milligrams of calcium - 20% of the
                      18   daily value for this nutrient. 20
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                      21   https://www.supplysidefbj.com/market-trends-analysis/75-of-consumers-will-pay-extra-for-
                           clean-label-ingredients.
                           16
                      22      Revealing      the     Cheese,     KERRY       GLOBAL        (2022),     available    at
                           https://liveshareeast3.seismic.com/i/TWGup27Us5bMBKDCyt31Pqz1H1sz5Cpm6J___nZOm
                      23   oLCBr5iWixpdjoboWPLUSSIGNlgW9sRiR7WwePyqPLUSSIGNZPsuhbCcwwhK4AsrIPLU
                           SSIGN8GSAV28ZmQGFePXTkgGceX4Z1lI7JPczaDrvA35fC5fcLhiNGS9XtH4s43M48vWJ
                      24   NLybuN0XjMw2z2QgEQUALSIGN.
                           17
                              Cheese Market Trends in the US, INNOVA MARKET INSIGHTS (Feb. 12, 2024), available
                      25   at https://www.innovamarketinsights.com/trends/cheese-market-trends-in-the-us/.
                           18
                              Ibid.
                           19
                      26       Calcium Fact Sheet for Health Professionals, NATIONAL INSTITUTES OF HEALTH,
                           OFFICE OF DIETARY SUPPLEMENTS (July 24, 2024), available at
                      27   https://ods.od.nih.gov/factsheets/Calcium-HealthProfessional/.
                           20
                                Calcium Content of Common Foods, INTERNATIONAL OSTEOPOROSIS
                      28   FOUNDATION,                                      available                               at
                           https://www.osteoporosis.foundation/patients/prevention/calcium-content-of-common-foods.
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                      1           41.    Cheese is also a significant source of protein, which is essential for
                      2    the synthesis of collagen and other structural proteins in bones. Protein plays a role
                      3    in cell structure, immune function, enzyme reactions, and hormone synthesis. 21
                      4    Parmesan is a high-protein cheese, with 10.1 grams of protein per ounce. Cheddar
                      5    cheese offers high-quality protein containing 6.8 grams of protein per ounce. 22
                      6     DEFENDANT CAPITALIZES ON THIS TREND BY MARKETING THE PRODUCTS AS
                      7                            BEING “MADE WITH REAL CHEESE”
                      8           42.    Recognizing this trend, Defendant markets the Products as being
                      9    “Made with Real Cheese,” where cheese is a characterizing ingredient of each
                      10   Product.
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                      11          43.    Specifically, on the front package of each of the Products above a
                      12   picture of a large bowl of pasta smothered or coated in cheese appears the words
                      13   “Made with Real Cheese.” This message is bolstered by the additional statement
                      14   “CREAMY and CHEESY SAUCE,” which appears on the front package of all but
                      15   one of the Products, below the “Made with Real Cheese” claim. 23
                      16          44.    Indeed, cheese is a characterizing ingredient for each of the Products
                      17   where a variation of the word “cheese” is part of the name of each Product.
                      18          45.    Placement of these representations on the front of the box for each
                      19   Product was purposeful and strategic on the part of Defendant.
                      20          46.    A 2021 survey by the International Food Information Council
                      21   (“IFIC”), a nonprofit supported by the food, beverage and agricultural industries,
                      22   found that while sixty-two percent of consumers review a product’s ingredient list,
                      23   more than half use front-of-pack labeling as a source of information. 24
                      24
                      25   21
                              Bourgeois, Chelsea Rae, RDN, LD, 15 High-Protein Cheeses to Add to Your Diet, HEALTH
                      26   (March 12, 2024), available at https://www.health.com/high-protein-cheeses-8603571.
                           22
                              Ibid.
                           23
                      27      https://www.hamburgerhelper.com/products/?product_category[]=18.
                           24
                               IFIC Survey: From “Chemical-sounding” to “Clean”: Consumer Perspectives on Food
                      28   Ingredients, FOOD INSIGHT (June 17, 2021), available at https://foodinsight.org/ific-survey-
                           from-chemical-sounding-to-clean-consumer-perspectives-on-food-ingredients/.
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                      1         47.   The front package and ingredients for each Product are below:
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                      14        48.   Other products make the same “Made with Real Cheese” claim above
                      15   a picture of a large bowl of creamy pasta, without the statement “CREAMY and
                      16   CHEESY SAUCE.”
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                      1           49.     Defendant’s claim that the Products are “Made with Real Cheese,”
                      2    adds value to the Products.
                      3           50.     For instance, the FDA recognizes that similar claims such as “made
                      4    with real butter,” “made with whole fruit,” “contains honey” are claims about the
                      5    presence of an ingredient that may be perceived to add value to the product. 21
                      6    CFR § 101.65(b)(3).
                      7                 DEFENDANT’S “REAL” INGREDIENT CLAIM IS MISLEADING
                      8           51.     Research shows that consumers initially rely on extrinsic cues such
                      9    as visual information on labels and packaging to evaluate products, developing
                      10   sensory expectations about its ingredients. 25
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                      11          52.     A 2023 systematic review evaluating the effectiveness of Front-of-
                      12   Pack Labeling (“FOPL”) found that people of all socioeconomic status groups
                      13   “were aware of and more likely to pay attention towards FOPL than the nutrition
                      14   information panel provided on the back of the package” and suggested that
                      15   “FOPLs are more visible than the nutrition information panel and may guide
                      16   healthier food choices for people of all SES backgrounds.” 26
                      17          53.     Whether the Products contain more than a de minimis amount of
                      18   cheese, a characterizing ingredient of the Products, is basic front label information
                      19   consumers rely on when making quick purchasing decisions at the grocery store.
                      20          54.     A characterizing ingredient is one which has a material bearing on
                      21   price or consumer acceptance of the food, or which a consumer might otherwise
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                           25
                      23      Pramudya, Ragita C., Hand-Feel Touch Cues and Their Influences on Consumer Perception
                           and Behavior with Respect to Food Products: A Review, FOODS (July 15, 2019), available at
                      24   https://pmc.ncbi.nlm.nih.gov/articles/PMC6678767/; Enax, Laura, et al., Food packaging cues
                           influence taste perception and increase effort provision fora recommended snack product in
                      25   children, FRONTIERS IN PSYCHOLOGY (July 2, 2015), available at
                           https://pmc.ncbi.nlm.nih.gov/articles/PMC4488606/; Watson, Elaine, What ‘clean’ food cues
                      26   are shoppers looking for?, FOOD NAVIGATOR USA (Nov. 21, 2017), available at
                           https://www.foodnavigator-usa.com/Article/2017/11/21/Consumers-look-for-cues-for-natural-
                      27   and-clean-food-says-Hartman-Group-at-FOOD-VISION-USA/.
                           26
                              Shrestha, Anita, et al., Impact of front-of-pack nutrition labelling in consumer understanding
                      28   and use across socio-economic status: A systematic review, APPETITE (August 1, 2023),
                           available at https://www.sciencedirect.com/science/article/pii/S019566632300140X.
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                      1    believe to be present in an amount greater than is the case. 21 CFR §§ 101.22(i),
                      2    102.5.
                      3             55.   The Product’s common or usual names all of which include a
                      4    variation of the word “cheese,” in combination with representations on the front
                      5    of the Product boxes that they are “Made with Real Cheese” placed above a large
                      6    bowl of cheesy pasta is false, misleading, and deceptive to reasonable consumers
                      7    because the Products consist of two percent or less of cheese, a de minimis amount.
                      8             56.   Despite emphasizing that the Products are “Made with Real Cheese,”
                      9    and with more than a de minimis amount of real cheese, the fine print of the
                      10   ingredients on the back of the Product packages reveal that the Products consist of
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                      11   two percent or less of cheese.
                      12            57.   The FDA requires ingredients identified on food labels to be listed in
                      13   descending order of predominance by weight. 21 CFR § 101.4(a)(1). The
                      14   ingredient that weighs the most is to be listed first, and the ingredient that weighs
                      15   the least is listed last.
                      16            58.   Ingredients that comprise 2 percent or less of a product formula are
                      17   exempt from the above. These ingredients do not need to be listed in descending
                      18   order by predominance of weight but rather can be listed in any order.
                      19            59.   These ingredients must be listed at the end of the ingredient statement
                      20   following an appropriate quantifying statement such as “Contains __ percent or
                      21   less of ______.” 21 CFR § 101.4(a)(2). Further, they must not “be present in an
                      22   amount greater than the stated threshold.” 21 CFR § 101.4(a)(2). As is relevant
                      23   here, Product labels must state “Contains 2 percent or less of cheese” and thus may
                      24   not contain more than 2 percent cheese.
                      25            60.   Further, since the FDA does not require ingredients that make up two
                      26   percent or less of a product to be listed in order of predominance, the amount of
                      27   cheese in the Products may be significantly less than two percent. 21 CFR §
                      28   101.4(a)(2).
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                      1           61.    The primary ingredient in all the Products is enriched pasta
                      2    (macaroni, pasta, spaghetti) made of wheat flour, niacin, ferrous sulfate, thiamin
                      3    mononitrate, riboflavin, and folic acid.
                      4           62.    The remaining ingredients in order of predominance by weight are
                      5    not cheese. Neither corn starch, salt, enriched flour, wheat flour, sugar, tomato, or
                      6    maltodextrin (a carbohydrate made from corn, rice, potato starch, or wheat) are
                      7    cheese.
                      8           63.    Dairy Solids, also known as Modified Whey or Whey Permeate
                      9    (referred to herein as “Whey Permeate”), is not cheese or a component of real
                      10   cheese, 27 which is defined as “the coagulated, compressed, and usually ripened
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                      11   curd of milk separated from the whey.” 28 Rather, it is the by-product of cheese
                      12   manufacturing. 29
                      13          64.    Whey permeate is a by-product obtained when cheese whey is passed
                      14   through an ultrafiltration membrane to concentrate whey protein. Whey proteins
                      15   are retained by the membrane, whereas smaller molecules such as lactose and salts
                      16   pass through the membrane making up the whey permeate. 30
                      17          65.    Once moisture is removed from the liquid permeate, an off-white,
                      18   free-flowing powder with a mild dairy flavor remains. After the protein (plus some
                      19   lactose and minerals) is removed from this powder, the remaining collection of
                      20   substances is called whey permeate. The composition of whey permeate varies by
                      21   milk source, cheese type, and processing conditions, but its main ingredient is
                      22   lactose, 31 the sugary component of milk.
                      23
                           27
                      24      https://www.thinkusadairy.org/products/permeate-(dairy-product-solids)/permeate-
                           categories/whey-permeate#.
                           28
                      25       https://www.merriam-webster.com/dictionary/cheese.
                           29
                               https://www.adpi.org/ingredient-resource-center/dairy-milk-permeate/.
                           30
                      26        Barile, Daniela, et al., Permeate from cheese whey ultrafiltration is a source of milk
                           oligosaccharides, INTERNATIONAL DAIRY JOURNAL (Sept. 1, 2010), available at
                      27   https://pmc.ncbi.nlm.nih.gov/articles/PMC2805004/#:~:text=Whey.
                           31
                               Foegeding, E.A., Milk Protein Products | Whey Protein Products, ENCYCLOPEDIA OF
                      28   DAIRY SCIENCES (2nd Ed.) (2011), available at https://www.sciencedirect.com/topics/food-
                           science/whey-permeate#:~:text=.
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                      1           66.     Whey permeate is used as a lower cost filler ingredient and bulking
                      2    agent, which adds volume, compared to costlier cheese. 32 It is not cheese.
                      3                 REASONABLE CONSUMERS ARE DECEIVED BY DEFENDANT’S
                      4                           MISREPRESENTATIONS AND OMISSIONS
                      5           67.     Marketing the Products as “Made with Real Cheese” is misleading to
                      6    consumers because the Products contain a negligible amount, two percent or less,
                      7    of cheese.
                      8           68.     Reasonable consumers viewing the label, which states “Made with
                      9    Real Cheese” directly above a bowl filled with creamy cheesy pasta and next to
                      10   the words “Creamy & Cheesy Sauce,” expect the Products, all of which include
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                      11   the word cheese in their names, to contain more than a negligible amount of
                      12   cheese.
                      13          69.     Indeed, cheese is a characterizing ingredient of the Products, all of
                      14   which include a variation of the word cheese in their name (e.g., Cheeseburger,
                      15   Cheesy, Cheese).
                      16          70.     The Products’ labels fail to prominently and conspicuously reveal
                      17   facts relative to the proportions or absence of real cheese in the Products.
                      18        PLAINTIFF AND PUTATIVE CLASS MEMBERS SUFFERED ECONOMIC INJURY
                      19          71.     Plaintiff and putative Class members suffered economic injury as a
                      20   result of Defendant’s actions. Plaintiff and putative Class members spent money
                      21   that, absent Defendant’s actions, they would not have spent.
                      22          72.     Plaintiff and Class members would not have purchased or would have
                      23   paid less for the Products if they knew they contained two percent or less of real
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                           32
                      25      Lappa, Iliada K., et al., Cheese Whey Processing: Integrated Biorefinery Concepts and
                           Emerging      Food      Applications,  FOODS      (Aug.    15,   2019),    available  at
                      26   https://www.mdpi.com/2304-8158/8/8/347; Choudhury, Nandini R., Whey Permeate Market
                           Outlook (2024 to 2034), FUTURE MARKET INSIGHTS, INC. (August 2024), available at
                      27   https://www.futuremarketinsights.com/reports/whey-permeate-market; Momtaz, Mysha, et al.,
                           Mechanisms and Health Aspects of Food Adulteration: A Comprehensive Review, FOODS (Jan.
                      28   2, 2023), available at https://www.mdpi.com/2304-8158/12/1/199.

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                      1    cheese.
                      2           73.   The Products were worth less than what Plaintiff paid, and she would
                      3    not have paid as much absent Defendant’s false and misleading statements and
                      4    omissions.
                      5           74.   Similar Products were available for purchase that cost less. By way
                      6    of example, a 6.6 ounce box (4.5 servings) of Hamburger Helper Cheeseburger
                      7    Macaroni with the claim “Made with Real Cheese” sells online at Walmart for
                      8    $1.84, excluding tax and sales. 33 Compare this to the Great Value Cheeseburger
                      9    Pasta Skillet Dinner, 5.8 ounces, which is sold online at Walmart for $1.28,
                      10   excluding tax and sales. As seen below, the front package of this comparative
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                      11   product, sold at a lower price, does not claim to reference that it is made with real
                      12   cheese. 34
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                      27       https://www.walmart.com/ip/Hamburger-Helper-Pasta-Cheeseburger-Macaroni-6-6-Ounces-
                           Box/5078997439 (last visited Dec. 2, 2024).
                           34
                      28      https://www.walmart.com/ip/Great-Value-Cheeseburger-Pasta-Skillet-Dinner-5-8-
                           oz/169880328?wl13=5075&selectedSellerId=0&wmlspartner=wlpa (last visited Dec. 2, 2024).
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                      1          75.   Plaintiff would like to, and would, purchase the Products again if they
                      2    are accurately represented on the front package by excluding the term “Made with
                      3    Real Cheese,” with a corresponding price reduction to account for any premium
                      4    associated with this claim. However, as a result of Defendant’s ongoing
                      5    misrepresentations and omissions, Plaintiff is unable to rely on the Products’
                      6    labeling when deciding in the future whether to purchase such Products.
                      7          76.   Accordingly, Plaintiff brings this action individually and on behalf of
                      8    other similarly situated consumers to halt the dissemination of Defendant’s
                      9    deceptive advertising message, correct the deceptive perception it has created in
                      10   the minds of consumers, and obtain redress for those who have purchased the
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                      11   Products.
                      12         77.   As a consequence of Defendant’s deceptive labeling and material
                      13   omissions, Plaintiff alleges Defendant has violated and is violating California’s
                      14   Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq. (the “CLRA”),
                      15   California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200, et seq. (the
                      16   “UCL”) and has breached express warranties.
                      17                          NO ADEQUATE REMEDY AT LAW
                      18         78.   Plaintiff and members of the Class are entitled to equitable relief as
                      19   no adequate remedy at law exists. The statutes of limitations for the causes of
                      20   action pled herein vary. Class members who purchased the Products more than
                      21   three years prior to the filing of the Complaint will be barred from recovery if
                      22   equitable relief were not permitted under the UCL.
                      23         79.   The scope of actionable misconduct under the unfair prong of the
                      24   UCL is broader than the other causes of action asserted herein. It includes
                      25   Defendant’s overall unfair marketing scheme to promote and brand the Products,
                      26   across a multitude of media platforms, including the product labels, packaging,
                      27   and online advertisements, over a long period of time, in order to gain an unfair
                      28   advantage over competitor products. Plaintiff and Class members may also be
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                      1    entitled to restitution under the UCL, while not entitled to damages under other
                      2    causes of action asserted herein (e.g., the CLRA is limited to certain types of
                      3    plaintiffs (an individual who seeks or acquires, by purchase or lease, any goods or
                      4    services for personal, family, or household purposes) and other statutorily
                      5    enumerated conduct).
                      6          80.      A primary litigation objective in this litigation is to obtain injunctive
                      7    relief in the form of a label or ingredient change. Injunctive relief is appropriate
                      8    on behalf of Plaintiff and members of the Class because Defendant continues to
                      9    misrepresent the Products as being “Made with Real Cheese,” a characterizing
                      10   ingredient of the Products, despite that the Products contain two percent or less of
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                      11   real cheese.
                      12         81.      Injunctive relief is necessary to prevent Defendant from continuing
                      13   to engage in the unfair, fraudulent, and/or unlawful conduct described herein and
                      14   to prevent future harm—none of which can be achieved through available legal
                      15   remedies (such as monetary damages to compensate past harm). Further, a public
                      16   injunction is available under the UCL, and damages will not adequately benefit
                      17   the general public in a manner equivalent to an injunction.
                      18                               CLASS ACTION ALLEGATIONS
                      19         82.      Plaintiff brings this action as a class action pursuant to Rule 23(b)(2)
                      20   and (b)(3) of the Federal Rules of Civil Procedure on behalf of herself and all
                      21   others similarly situated as defined below (“Nationwide Class”):
                      22         All residents of the United States who purchased one or more of the
                                 Products from Defendant for personal, household or family use, within the
                      23         applicable statute of limitations, until the date class notice is disseminated.
                      24         83.      Plaintiff brings this action pursuant to Rule 23 of the Federal Rules
                      25   of Civil Procedure on behalf of herself and all other similarly situated Californians,
                      26   defined as (“California Subclass”):
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                      1              All persons who purchased one or more of the Products in California,
                                     for personal, household or family use, within the applicable statute of
                      2
                                     limitations, until the date class notice is disseminated.
                      3
                      4              84.     The “Nationwide Class” and “California Subclass” are referred to

                      5    together as the “Class.” Excluded from the Class are: (i) Defendant and its officers,

                      6    directors, and employees; (ii) any person who files a valid and timely request for

                      7    exclusion; and (iii) judicial officers and their immediate family members and

                      8    associated court staff assigned to the case.

                      9              85.     Plaintiff reserves the right to amend or otherwise alter the Class

                      10   definition presented to the Court at the appropriate time, or to propose or eliminate
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                      11   subclasses, in response to facts learned through discovery, legal arguments

                      12   advanced by Defendants, or otherwise.

                      13             86.     Certification of the Class is appropriate because Plaintiff can prove

                      14   the elements of the claims on a classwide basis using the same evidence as would

                      15   be used to prove those elements in individual actions alleging the same claims.

                      16             87.     Numerosity: Class members are so numerous that joinder of all

                      17   members is impracticable. Plaintiff believes there are thousands of consumers who

                      18   are Class members described above who have been damaged by Defendant’s

                      19   deceptive and misleading practices. For instance, public data reveals that in 2022

                      20   Hamburger Helper generated $248.6 million in U.S. sales, and in 2023 sales hit

                      21   $272.2 million, reaching a 20% market share. 35

                      22             88.     Commonality: There is a well-defined community of interest in the

                      23   common questions of law and fact affecting all Class members. The questions of

                      24   law and fact common to the Class members which predominate over any questions

                      25   that may affect individual Class members include, but are not limited to:

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                      28   35
                                See, supra, fn 4.
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                      1          a.     Whether Defendant is responsible for the conduct alleged herein
                      2    which was uniformly directed at all consumers who purchased the Products;
                      3          b.     Whether Defendant’s misconduct set forth in this Complaint
                      4    demonstrates that Defendant engaged in unfair, fraudulent, or unlawful business
                      5    practices with respect to the advertising, marketing, and sale of the Products;
                      6          c.     Whether Defendant made misrepresentations concerning the
                      7    Products that were likely to deceive the public;
                      8          d.     Whether the representation that the Products are “Made with Real
                      9    Cheese” is false or misleading;
                      10         e.     Whether the representation that the Products are made with more than
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                      11   a de minimis amount of real cheese is false or misleading;
                      12         f.     Whether Plaintiff and the Class are entitled to injunctive relief;
                      13         g.     Whether Plaintiff and the Class are entitled to money damages and/or
                      14   restitution under the same causes of action as the other Class members.
                      15         89.    Typicality: Plaintiff is a member of the Class she seeks to represent.
                      16   Plaintiff’s claims are typical of the claims of each Class member in that every
                      17   member of the Class was susceptible to the same deceptive, misleading conduct
                      18   and purchased the Products. Plaintiff is entitled to relief under the same causes of
                      19   action as the other Class members.
                      20         90.    Adequacy: Plaintiff is an adequate Class representative because her
                      21   interests do not conflict with the interests of the Class members she seeks to
                      22   represent; the consumer fraud claims are common to all other members of the
                      23   Class, and Plaintiff has a strong interest in vindicating the rights of the Class;
                      24   Plaintiff has retained counsel competent and experienced in complex class action
                      25   litigation and Plaintiff intends to vigorously prosecute this action. Plaintiff has no
                      26   interests which conflict with those of the Class. The Class members’ interests will
                      27   be fairly and adequately protected by Plaintiff and proposed Class Counsel.
                      28   Defendant has acted in a manner generally applicable to the Class, making relief
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                      1    appropriate with respect to Plaintiff and the Class members. The prosecution of
                      2    separate actions by individual Class members would create a risk of inconsistent
                      3    and varying adjudications.
                      4          91.       The Class is properly brought and should be maintained as a class
                      5    action because a class action is superior to traditional litigation of this controversy.
                      6    A class action is superior to the other available methods for the fair and efficient
                      7    adjudication of this controversy because:
                      8          a.        The joinder of thousands of individual Class members is
                      9    impracticable, cumbersome, unduly burdensome, and a waste of judicial and/or
                      10   litigation resources;
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                      11         b.        The individual claims of the Class members may be relatively modest
                      12   compared with the expense of litigating the claim, thereby making it impracticable,
                      13   unduly burdensome, and expensive to justify individual actions;
                      14         c.        When Defendant’s liability has been adjudicated, all Class members’
                      15   claims can be determined by the Court and administered efficiently in a manner
                      16   far less burdensome and expensive than if it were attempted through filing,
                      17   discovery, and trial of all individual cases;
                      18         d.        This class action will promote orderly, efficient, expeditious, and
                      19   appropriate adjudication and administration of Class claims;
                      20         e.        Plaintiff knows of no difficulty to be encountered in the management
                      21   of this action that would preclude its maintenance as a class action;
                      22         f.        This class action will assure uniformity of decisions among Class
                      23   members;
                      24         g.        The Class is readily definable and prosecution of this action as a class
                      25   action will eliminate the possibility of repetitious litigation; and
                      26         h.        Class members’ interests in individually controlling the prosecution
                      27   of separate actions is outweighed by their interest in efficient resolution by a single
                      28   class action.
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                      1          92.    Final Declaratory or Injunctive Relief: Additionally, or in the
                      2    alternative, the Class also may be certified because Defendant has acted or refused
                      3    to act on grounds generally applicable to the Class thereby making final
                      4    declaratory and/or injunctive relief with respect to the members of the Class as a
                      5    whole, appropriate.
                      6          93.    Plaintiff seeks preliminary and permanent injunctive and equitable
                      7    relief on behalf of the Class, on grounds generally applicable to the Class, to enjoin
                      8    and prevent Defendant from engaging in the acts described, and to require
                      9    Defendant to provide full restitution to Plaintiff and Class members.
                      10         94.    Unless the Class is certified, Defendant will retain monies that were
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                      11   taken from Plaintiff and Class members as a result of Defendant’s wrongful
                      12   conduct. Unless a classwide injunction is issued, Defendant will continue to
                      13   commit the violations alleged and the members of the Class and the general public
                      14   will continue to be misled.
                      15                                 FIRST CLAIM FOR RELIEF
                      16               Violation of California’s Consumers Legal Remedies Act
                      17                             Cal. Civ. Code §§ 1750, et seq.
                      18                         (On Behalf of the California Subclass)
                      19         95.    Plaintiff realleges and incorporates by reference all allegations
                      20   contained in this Complaint, as though fully set forth herein.
                      21         96.    Plaintiff brings this claim under the CLRA individually and on behalf
                      22   of the Class against Defendant.
                      23         97.    At all times relevant hereto, Plaintiff and the members of the Class
                      24   were “consumer[s],” as defined in California Civil Code section 1761(d).
                      25         98.    At all relevant times, Defendant was a “person,” as defined in
                      26   California Civil Code section 1761(c).
                      27         99.    At all relevant times, the Products manufactured, marketed,
                      28   advertised, and sold by Defendant constituted “goods,” as defined in California
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                      1    Civil Code section 1761(a).
                      2          100. Purchases of the Products by Plaintiff and Class members were and
                      3    are “transactions” within the meaning of California Civil Code section 1761(e).
                      4          101. Defendant disseminated, or caused to be disseminated, through its
                      5    advertising, false and misleading representations. Defendant’s representations that
                      6    the Products are “Made with Real Cheese,” which statement appears on the front
                      7    of the box of each Product, above a picture of a large bowl of cheesy pasta and
                      8    next to the words “Creamy Cheese Sauce,” combined with the name of the
                      9    Products, all of which contain a variation of the word “cheese,” is meant to and
                      10   does convey the impression that cheese is a characterizing ingredient in the
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                      11   Products, and is present in more than a de minimis amount. This is false and
                      12   misleading because the Products contain two percent or less of cheese.
                      13         102. This is a material misrepresentation and omission as a reasonable
                      14   consumer would find the fact that the Products contain two percent or less real
                      15   cheese to be important to their decision in purchasing the Products. Defendant’s
                      16   representations violate the CLRA in the following ways:
                      17                (a) Defendant represented that the Products have characteristics,
                      18                   ingredients, uses, and benefits which they do not have (Cal. Civ.
                      19                   Code § 1770(a)(5));
                      20                (b) Defendant represented that the Products are of a particular
                      21                   standard, quality, or grade, which they are not (Cal. Civ. Code §
                      22                   1770(a)(7));
                      23                (c) Defendant advertised the Products with an intent not to sell the
                      24                   Products as advertised (Cal. Civ. Code § 1770(a)(9)); and
                      25                (d) Defendant represented that the subject of a transaction has been
                      26                   supplied in accordance with a previous representation when it has
                      27                   not (Cal. Civ. Code § 1770(a)(16)).
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                      1          103. Defendant violated the CLRA because all the Products, which include
                      2    a variation of the word cheese in their names, were prominently advertised as
                      3    containing more than a de minimis amount of cheese. The words “Made with Real
                      4    Cheese” appears on the front of each Product box, which message was reinforced
                      5    by a picture of large bowl of cheesy pasta, next to the words “Creamy & Cheesy
                      6    Sauce.” This was false and misleading because the Products contain a de minimis
                      7    amount of cheese, two percent or less. Defendants knew or should have known
                      8    that its representations on the front of the box would mislead reasonable
                      9    consumers.
                      10         104. Defendant’s actions as described herein were done with conscious
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                      11   disregard of Plaintiff’s and the Class members’ rights and were wanton and
                      12   malicious.
                      13         105. Defendant’s wrongful business practices constituted, and constitute,
                      14   a continuing course of conduct in violation of the CLRA, since Defendant is still
                      15   representing that the Products have characteristics which they do not have.
                      16         106. Pursuant to California Civil Code section 1782(d), Plaintiff and the
                      17   members of the Class seek an order enjoining Defendant from engaging in the
                      18   methods, acts, and practices alleged herein.
                      19         107. Pursuant to California Civil Code section 1782, on or about
                      20   December 10, 2024, Plaintiff notified Defendant, in writing, by certified mail, of
                      21   the alleged violations of the CLRA and demanded that Defendant rectify the
                      22   problems associated with the actions detailed above and give notice to all affected
                      23   consumers of their intent to so act. Defendant has not rectified or agreed to rectify
                      24   the problems associated with the actions detailed herein and give notice to all
                      25   affected consumers within 30 days of the date of written notice pursuant to section
                      26   1782 of the CLRA. Thus, Plaintiff seeks actual damages, injunctive relief, and
                      27   attorneys’ fees and costs for Defendant’s violations of the CLRA.
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                      1          108. Pursuant to section 1780(d) of the CLRA, below is an affidavit
                      2    showing this action was commenced in a proper forum.
                      3                               SECOND CLAIM FOR RELIEF
                      4             Violation of California’s Unfair Competition Law (“UCL”)
                      5                        Cal. Bus. & Prof. Code §§ 17200, et seq.
                      6                         (On Behalf of the California Subclass)
                      7          109. Plaintiff realleges and incorporates by reference all allegations
                      8    contained in this Complaint, as though fully set forth herein.
                      9          110. Plaintiff brings this claim under the UCL individually and on behalf
                      10   of the Class against Defendant.
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                      11         111. The UCL prohibits any “unlawful,” “fraudulent,” or “unfair” business
                      12   act or practice and any false or misleading advertising.
                      13         112. Defendant committed unlawful business acts or practices by making
                      14   the representations and omitting material facts (which constitutes advertising
                      15   within the meaning of Cal. Bus. & Prof. Code, § 17200), as set forth more fully
                      16   herein, and by violating California’s Consumers Legal Remedies Act, Cal. Civ.
                      17   Code §§17500, et seq., California’s False Advertising Law, Cal. Bus. & Prof. §§
                      18   17500, et seq., 15 U.S.C. § 45, and by breaching express warranties. Plaintiff,
                      19   individually and on behalf of the other Class members, reserves the right to allege
                      20   other violations of law, which constitute other unlawful business acts or practices.
                      21   Such conduct is ongoing and continues to this date.
                      22         113. Defendant committed “unfair” business acts or practices by: (1)
                      23   engaging in conduct where the utility of such conduct is outweighed by the harm
                      24   to Plaintiff and the members of the Class; (2) engaging in conduct that is immoral,
                      25   unethical, oppressive, unscrupulous, or substantially injurious to Plaintiff and the
                      26   members of the Class; and (3) engaging in conduct that undermines or violates the
                      27   intent of the consumer protection laws alleged herein. There is no societal benefit
                      28   from deceptive advertising. Plaintiff and the other Class members paid for a
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                      1    Product that is not as advertised by Defendant. While Plaintiff and the other Class
                      2    members were harmed, Defendant was unjustly enriched by its false
                      3    misrepresentations and material omissions. As a result, Defendant’s conduct is
                      4    “unfair,” as it offended an established public policy. There were reasonably
                      5    available alternatives to further Defendant’s legitimate business interests, other
                      6    than the conduct described herein.
                      7             114. Defendant committed “fraudulent” business acts or practices by
                      8    making the representations of material fact regarding the Products set forth herein.
                      9    Defendant’s business practices as alleged are “fraudulent” under the UCL because
                      10   they are likely to deceive customers into believing the Products contain more than
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                      11   a de minimis, two percent, of real cheese.
                      12            115. Plaintiff and the other members of the Class have in fact been
                      13   deceived as a result of their reliance on Defendant’s material representations and
                      14   omissions. This reliance has caused harm to Plaintiff and the other members of the
                      15   Class, each of whom purchased Defendant’s Products. Plaintiff and the other Class
                      16   members have suffered injury in fact and lost money as a result of purchasing the
                      17   Products and Defendant’s unlawful, unfair, and fraudulent practices.
                      18            116. Defendant’s wrongful business practices and violations of the UCL
                      19   are ongoing.
                      20            117. Plaintiff and the Class seek pre-judgment interest as a direct and
                      21   proximate result of Defendant’s unfair and fraudulent business conduct. The
                      22   amount on which interest is to be calculated is a sum certain and capable of
                      23   calculation, and Plaintiff and the Class seek interest in an amount according to
                      24   proof.
                      25            118. Unless restrained and enjoined, Defendant will continue to engage in
                      26   the above-described conduct. Accordingly, injunctive relief is appropriate.
                      27   Pursuant to California Business & Professions Code § 17203, Plaintiff,
                      28   individually and on behalf of the Class, seeks (1) restitution from Defendant of all
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                      1    money obtained from Plaintiff and the other Class members as a result of unfair
                      2    competition; (2) an injunction prohibiting Defendant from continuing such
                      3    practices in the State of California that do not comply with California law; and (3)
                      4    all other relief this Court deems appropriate, consistent with California Business
                      5    & Professions Code section 17203.
                      6                               THIRD CLAIM FOR RELIEF
                      7                 Breach of Express Warranty Under California Law
                      8                                Cal. Comm. Code § 2313
                      9             (On Behalf of the Nationwide Class and California Subclass)
                      10         119. Plaintiff realleges and incorporates by reference all allegations
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                      11   contained in this Complaint, as though fully set forth herein.
                      12         120. Plaintiff brings this claim for breach of express warranty individually
                      13   and on behalf of the Nationwide Class against Defendant.
                      14         121. As the manufacturer, marketer, distributor, and seller of the Products,
                      15   Defendant issued an express warranty by representing to consumers at the point of
                      16   purchase, on the front of the box of all the Products, that the Products are made
                      17   “Made with Real Cheese.” Specifically, that the Products are made with more than
                      18   a de minimis amount of real cheese. This message is reinforced by the names of
                      19   the Products, all of which identify cheese as a characterizing ingredient of the
                      20   Product, as well as the picture of a large bowl of cheesy pasta on the front of the
                      21   box. This is an express warranty the Products are made with more than a de
                      22   minimis amount of real cheese.
                      23         122. Plaintiff and the Class reasonably relied on Defendant’s above
                      24   misrepresentations, descriptions and specifications regarding the Products.
                      25         123. Defendant’s representations were part of the description of the goods
                      26   and the bargain upon which the goods were offered for sale and purchased by
                      27   Plaintiff and members of the Class.
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                      1          124. In fact, the Products do not conform to Defendant’s representations
                      2    because the Products contain a de minimis amount, two percent or less, of cheese.
                      3    By falsely representing the Products in this way, Defendant breached express
                      4    warranties.
                      5          125. Plaintiff relied on Defendant’s (the manufacturer’s) representations
                      6    on the Products’ labels and advertising materials which provide the basis for an
                      7    express warranty.
                      8          126. As a direct and proximate result of Defendant’s breach, Plaintiff and
                      9    members of the Class were injured because they: (1) paid money for the Products
                      10   that were not what Defendant represented; (2) were deprived of the benefit of the
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                      11   bargain because the Products they purchased were different than Defendant
                      12   advertised; and (3) were deprived of the benefit of the bargain because the Products
                      13   they purchased had less value than if Defendant’s representations about the
                      14   characteristics of the Products was truthful.
                      15         127. Had Defendant not breached the express warranty by making the false
                      16   representations alleged herein, Plaintiff and Class members would not have
                      17   purchased the Products or would not have paid as much as they did for them.
                      18                                  REQUEST FOR RELIEF
                      19         Plaintiff, individually, and on behalf of all others similarly situated, request
                      20   for relief pursuant to each claim set forth in this Complaint, as follows:
                      21         a.      Declaring this action is a proper class action, certifying each Class as
                      22   requested herein, designating Plaintiff as the Class Representative and appointing
                      23   undersigned counsel as Class Counsel;
                      24         b.      Ordering restitution and disgorgement of all profits and unjust
                      25   enrichment that Defendant obtained from Plaintiff and Class members as a result
                      26   of Defendant’s unlawful, unfair, and fraudulent business practices;
                      27         c.      Ordering injunctive relief as permitted by law or equity, including
                      28   enjoining Defendant from continuing the unlawful practices as set forth herein,
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                      1    and ordering Defendant to engage in a corrective advertising campaign;
                      2           d.    Ordering damages in an amount which is different than that
                      3    calculated for restitution for Plaintiff and each Class;
                      4           e.    Ordering Defendant to pay attorneys’ fees and litigation costs to
                      5    Plaintiff and the other members of each Class;
                      6           f.    Ordering Defendant to pay both pre- and post-judgment interest on
                      7    any amounts awarded; and
                      8           g.    Ordering such other and further relief as may be just and proper.
                      9
                                                              JURY DEMAND
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                                  Plaintiff hereby demands a trial by jury of all claims in this Complaint so
                      11
                           triable.
                      12
                      13    Dated: February 21, 2025                 CROSNER LEGAL, P.C.
                      14
                                                                     By:       Jennifer L. MacPherson
                      15
                                                                           JENNNIFER L. MACPHERSON
                      16
                                                                     Jennifer L. MacPherson (SBN 202021)
                      17
                                                                     jmacpherson@crosnerlegal.com
                      18                                             Craig W. Straub (SBN 249032)
                                                                     craig@crosnerlegal.com
                      19
                                                                     Zachary M. Crosner (SBN 272295)
                      20                                             zach@crosnerlegal.com
                                                                     9440 Santa Monica Blvd. Suite 301
                      21
                                                                     Beverly Hills, CA 90210
                      22                                             Tel: (866) 276-7637
                                                                     Fax: (310) 510-6429
                      23
                      24                                             Attorneys for Plaintiff and the Proposed
                      25                                             Class

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                      1                           Civil Code Section 1780(d) Affidavit
                      2          I am an attorney duly licensed to practice before all courts of the State of
                      3    California. I am one of the counsel of record for Plaintiff. This declaration is made
                      4    pursuant to § 1780(d) of the California Consumers Legal Remedies Act. Defendant
                      5    has done, and is doing, business in California, including in this District. I declare
                      6    under penalty of perjury under the laws of the State of California that the foregoing
                      7    is true and correct. Executed February 21, 2025 at San Diego, California.
                      8                                            By:       Jennifer L. MacPherson
                                                                         JENNNIFER L. MACPHERSON
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